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                                                                                          RETAIN

         Lori S. Simpson , U. S. BANKRUPTCY JUDGE                         Evidentiary Hrg: Y N
                                                                           Exhibits Filed: Y N
                            PROCEEDING MEMO − CHAPTER 13



                                                          Date: 10/17/2023 Time: 02:00
         CASE: 22−12472 Virgilio Hernandez Artiga

         Jeffrey M. Orenstein and Maurice Belmont VerStandig representing
         Virgilio Hernandez Artiga (Debtor)

            T. Branigan  K. Moulding
                 representing Timothy P. Branigan (Trustee)

         [65] Amended Chapter 13 Plan. Amount of Payments per
         Month: $30/150, Number of Months: 4/32 total
         term 36, Filed by Virgilio Hernandez Artiga. (Attachments:
         #s2 Matrix)(VerStandig, Maurice) Modified on
         9/13/2023 (Sukeena, Todd).

MOVANT : Virgilio Hernandez Artiga BY M VerStandig

DISPOSITIONS:
Plan: Confirmed Modified Hold Interlineation:$             Mos.         Converted to Ch
Denied without/with leave to amend by:                          Conf:            Dismissed
Continued to:
Other Matters: (List Paper No next to ruling)

          Granted      65          Sustained                Denied
          Overruled                Withdrawn                Under Adv.
          Moot                     Consent                  Dismissed
          O.T.J. Fee

DECISION:

    [ ] Signed by Court            [ ] Filed by Counsel
    [ ] To be prepared by:
          [ ] Movant's counsel           [ ] Court
          [ ] Respondent's counsel       [ ] Other

NOTES:
65 Plan confirmed with hold. D to fix surrender dates, arrears claim of 130.00, dso
and tax returns.
D testified as to value of house.




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